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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF RHODE ISLAND

  GREENLEAF COMPASSIONATE CARE                       :
  CENTER, INC.,                                      :
       Plaintiff,                                    :
                                                     :
  v.                                                 :
                                                     :
  MATTHEW SANTACROCE, in his official                :
  capacity as Deputy Director of the Rhode           :
  Island Department of Business Regulation;          :
  ERICA FERRELLI, in her official capacity as        :
  Chief of the Office of Cannabis Regulation         :
  within the Rhode Island Department of              :               C.A. No. 23-cv-282
  Business Regulation; KIMBERLY AHERN,               :
  in her official capacity as Chair of the Rhode     :
  Island Cannabis Control Commission;                :
  ROBERT JACQUARD, in his official capacity          :
  as Commissioner on the Rhode Island Cannabis       :
  Control Commission; OLAYIWOLA                      :
  ODUYINGBO, in his official capacity as             :
  Commissioner on the Rhode Island Cannabis          :
  Control Commission; and LOCAL 328 OF THE           :
  UNITED FOOD AND COMMERCIAL                         :
  WORKERS UNION,                                     :
          Defendants.                                :


  ASSENTED TO MOTION FOR EXTENSION OF TIME FOR STATE DEFENDANTS TO
                 RESPOND TO PLAINTIFF’S COMPLAINT

         NOW COME, the Defendants, Matthew Santacroce, in his official capacity as Deputy

  Director of the Rhode Island Department of Business Regulation; Erica Ferrelli, in her official

  capacity as Chief of the Office of Cannabis Regulation within the Rhode Island Department of

  Business Regulation; Kimberly Ahern, in her official capacity as Chair of the Rhode Island

  Cannabis Control Commission; Robert Jacquard, in his official capacity as Commissioner on the

  Rhode Island Cannabis Control Commission; Olayiwola Oduyingbo, in his official capacity as

  Commissioner on the Rhode Island Cannabis Control Commission (hereinafter “State



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  Defendants”), and hereby move this Honorable Court to extend until September 7, 2023 the time

  in which State Defendants have to respond to Plaintiff’s Complaint, ECF 1. Counsel for the

  Plaintiff and Defendant Local 328 have assented to this Motion.



                                              Respectfully Submitted,

                                              Matthew Santacroce, in his official capacity as
                                              Deputy Director of the Rhode Island Department of
                                              Business Regulation; Erica Ferrelli, in her official
                                              capacity as Chief of the Office of Cannabis
                                              Regulation within the Rhode Island Department of
                                              Business Regulation; Kimberly Ahern, in her
                                              official capacity as Chair of the Rhode Island
                                              Cannabis Control Commission; Robert Jacquard, in
                                              his official capacity as Commissioner on the Rhode
                                              Island Cannabis Control Commission; Olayiwola
                                              Oduyingbo, in his official capacity as
                                              Commissioner on the Rhode Island Cannabis
                                              Control Commission

                                              State Defendants,

                                              BY:

                                              PETER F. NERONHA
                                              ATTORNEY GENERAL

                                              /s/ Chrisanne Wyrzykowski
                                              Chrisanne Wyrzykowski (Bar No. 7565)
                                              Assistant Attorney General
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                                              /s/ Chelsea Baittinger
                                              Chelsea Baittinger (Bar No. 9471)
                                              Special Assistant Attorney General
                                              Office of the Attorney General

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                                  CERTIFICATE OF SERVICE
          I, the undersigned, do hereby certify that on August 7, 2023, I filed and served the herein
  document through the electronic filing system on the attorneys of record. The herein document
  electronically filed and served is available for viewing and/or downloading from the ECF Filing
  System.


                                                        /s/ Chelsea Baittinger




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